        Case 1:23-cv-01004-RP            Document 207       Filed 04/11/25      Page 1 of 2




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

Bernhardt Tiede II, Texas Citizens United for     §
Rehabilitation of Errants, Inc., Coalition for    §
Texans with Disabilities, Inc., Texas Prisons     §      NO: AU:23-CV-01004-RP
Community Advocates, Build Up, Inc.               §
                                                  §
vs.

Bryan Collier, The Texas Department of
Criminal Justice (TDCJ), Kenneth Paxton,
Angela Colmenero, Texas Office of Attorney
General, Texas Department of Criminal
Justice-NON PARTY, Delango C. Griffin,
Texas Civil Rights Project, Louis Ray Green,
Emanual D. Fields, Jose L. Guerra, Matthew
Ryan Horner, Noe Castillo, David L. Reed,
Tifford Crosby, Darin Howard, Antonio
Moore, Gabriel Delgato, Jackie Webster
Dennis, Daniel Canada, Demarkeithon
Terrellious Ross, Juan Domingo Ramirez,
Billy Gene Shook III, Daniel Henson, Zachary
Kapel, Francisco Javier Samaniego, Daniel
Harper, Jesus Medrano Jr.

         ORDER SETTING INITIAL PRETRIAL CONFERENCE
       The parties, or counsel acting on their behalf, are ORDERED to appear for an initial
pretrial conference by telephone on 04/29/2025 at 10:00 AM. The Court will set a trial date at
the conference, so the parties must be prepared to discuss trial settings. The parties are directed to
use the following dial-in information:


       **Please call in 5 minutes before the hearing starts.**
       1. Toll free number: (855) 244-8681
       2. Access code: 2308 722 6901


       Use of speaker phones is prohibited during a telephonic appearance, and use of mobile
       Case 1:23-cv-01004-RP          Document 207       Filed 04/11/25     Page 2 of 2




phones is discouraged due to poor audio quality. Because earlier hearings in other cases may be
in progress when attorneys call in, they should mute their phones and wait for the Courtroom
Deputy to call this case before they speak.
       If there are questions regarding the telephonic appearance, the parties should contact
courtroom deputy Stephanie Cruz at Stephanie_Cruz@txwd.uscourts.gov.




April 11, 2025                                    ______________________________
                                                  MARK LANE
                                                  UNITED STATES MAGISTRATE JUDGE
